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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
      Plaintiff,                                         Criminal Case No. 21-cr-00195

 vs.

 SALVADOR SANDOVAL, JR.,                            MOTION TO SEVER DEFENDANTS
      Defendant.


       COMES NOW, Salvador Sandoval, through his counsel, William L. Kutmus and Trever

T. Hook, and moves pursuant to Fed.R.Crim.P. 8(b); Fed.R.Crim.P. 12(b)(3)(B)(iv); and

Fed.R.Crim.P. 14, to sever his case from that of Deborah Sandoval for the reasons set forth in

Defendant Debra Sandoval’s Motion to Sever Defendants filed January 29, 2022. We join that

motion and underscore the following:

       1.      On December 17, 2021, a Superseding Indictment was filed against Salvador

       Sandoval. He was charged with an additional felony to wit: assaulting and resisting or

       impeding an officer of the law. The Superseding Indictment with respect to Deborah

       Sandoval, Salvador’s mother, who had been previously charged with a felony of

       obstructing an official was dismissed. All charges against her, at present, are at a

       misdemeanor level.

       2.      The only nexus in the indictment between the Defendants is that they are mother

       and son. There is no evidence that they were part of a conspiracy or jointly had the intent

       to commit any crimes against the U.S. Government. They do not live together. They

       traveled separately to Washington D.C. The two of them arrived at the Capitol separately.

       They were on separate sides of the Capitol complex. There is no evidence of shared intent

       and collaboration that makes the case proper to legally join together.

       3.      Salvador’s concern with a joint trial is both legally and morally just. Evidence of

       violence, if any, on the part of Salvador, would have a cataclysmic side effect against his
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       mother. Although the defendants are mother and son, for the purposes of this motion, their

       trials should not be shared.

       WHEREFORE, Salvador Sandoval requests this Honorable Court grant his motion for

severance.


RESPECTFULLY SUBMITTED:                             KUTMUS, PENNINGTON & HOOK, PC

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                                                    ATTORNEYS FOR DEFENDANT
                                                    SALVADOR SANDOVAL, JR.


                                CERTIFICATE OF SERVICE

       I hereby declare that on February 3, 2022, I electronically filed the foregoing with the
Clerk of Court using the ECF system which will send notification of such filing to the following:

Mr. Louis Manzo
Department of Justice
1400 New York Avenue NW
Washington, DC 20002

                                                    /s/ Jodi A. Nissen
